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04/23/2020 10:10 AM CDT




                                                       - 677 -
                               Nebraska Supreme Court Advance Sheets
                                        305 Nebraska Reports
                                   STATE EX REL. COUNSEL FOR DIS. v. NNAKA
                                              Cite as 305 Neb. 677



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                              v. Kenneth A. Nnaka, respondent.
                                                  ___ N.W.2d ___

                                        Filed April 23, 2020.    No. S-20-073.

                    Original action. Judgment of public reprimand.
                 Heavican, C.J., Miller‑Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                      INTRODUCTION
                  The State Bar of Texas entered an “Agreed Judgment of
               Public Reprimand” of the respondent, Kenneth A. Nnaka, on
               October 16, 2019. The Counsel for Discipline of the Nebraska
               Supreme Court, the relator, filed a motion for reciprocal disci-
               pline against the respondent. We grant the motion for recipro-
               cal discipline and impose a public reprimand.
                                           FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on May 8, 2014. He has also been admitted
               to the practice of law in Texas.
                  On October 16, 2019, the State Bar of Texas and the
               respond­ent signed an “Agreed Judgment of Public Reprimand.”
               The respondent admitted to a violation of “Rule 1.04(a)” of the
               Texas disciplinary rules, stating that a lawyer shall not enter
               into an arrangement for, charge, or collect an illegal fee or
               unconscionable fee.
                             - 678 -
         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. NNAKA
                       Cite as 305 Neb. 677
   On January 31, 2020, the relator filed a motion for recipro-
cal discipline pursuant to Neb. Ct. R. § 3‑321 of the disci­
plinary rules. On February 10, this court filed an order to show
cause as to why it should not impose reciprocal discipline.
On February 21, the relator filed a response requesting that
this court impose a public reprimand. On February 28, the
respondent filed a response in which he requested that this
court grant him a private reprimand or, alternatively, take no
disciplinary action, because he self‑reported this matter to
the relator.

                           ANALYSIS
   The basic issues in a disciplinary proceeding against an
attorney are whether discipline should be imposed and, if so,
the type of discipline appropriate under the circumstances.
State ex rel. Counsel for Dis. v. Murphy, 283 Neb. 982, 814
N.W.2d 107 (2012). In a reciprocal discipline proceeding, a
judicial determination of attorney misconduct in one jurisdic-
tion is generally conclusive proof of guilt and is not subject to
relitigation in the second jurisdiction. Id. Neb. Ct. R. § 3‑304
of the disciplinary rules provides that the following may be
considered as discipline for attorney misconduct:
         (A) Misconduct shall be grounds for:
         (1) Disbarment by the Court; or
         (2) Suspension by the Court; or
         (3) Probation by the Court in lieu of or subsequent to
      suspension, on such terms as the Court may designate; or
         (4) Censure and reprimand by the Court; or
         (5) Temporary suspension by the Court; or
         (6) Private reprimand by the Committee on Inquiry or
      Disciplinary Review Board.
         (B) The Court may, in its discretion, impose one or
      more of the disciplinary sanctions set forth above.
Section 3‑321 of the disciplinary rules provides in part:
         (A) Upon being disciplined in another jurisdiction, a
      member shall promptly inform the Counsel for Discipline
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          Nebraska Supreme Court Advance Sheets
                   305 Nebraska Reports
            STATE EX REL. COUNSEL FOR DIS. v. NNAKA
                       Cite as 305 Neb. 677
      of the discipline imposed. Upon receipt by the Court of
      appropriate notice that a member has been disciplined in
      another jurisdiction, the Court may enter an order impos-
      ing the identical discipline, or greater or lesser discipline
      as the Court deems appropriate, or, in its discretion, sus-
      pend the member pending the imposition of final disci-
      pline in such other jurisdiction.
In imposing attorney discipline, we evaluate each case in light
of its particular facts and circumstances. State ex rel. Counsel
for Dis. v. Murphy, supra.
   Upon due consideration of the record, and the facts as deter-
mined by the State Bar of Texas, we determine that public
reprimand is appropriate.

                        CONCLUSION
   The respondent is publicly reprimanded. The respondent is
directed to pay costs and expenses in accordance with Neb.
Rev. Stat. §§ 7‑114 and 7‑115 (Reissue 2012) and Neb. Ct. R.
§§ 3‑310(P) (rev. 2019) and 3‑323(B) of the disciplinary rules
within 60 days after an order imposing costs and expenses, if
any, is entered by the court.
                            Judgment of public reprimand.
